           Case 1:20-cv-00769-ELH Document 21 Filed 09/20/21 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND


    CHAMBERS OF                                                   101 WEST LOMBARD STREET
  SUSAN K. GAUVEY                                                 BALTIMORE, MARYLAND 21201
U.S. MAGISTRATE JUDGE                                           MDD_skgchambers@mdd.uscourts.gov




                                    September 20, 2021


TO ALL COUNSEL OF RECORD:

         Re:        Bair v. United States of America,
                    Civil Case No. ELH-20-769

Dear Counsel:

      This is to confirm that the settlement conference in the above
referenced case is hereby rescheduled to Wednesday, January 19,
2022, at 10:00 a.m. The settlement conference will be held via
Zoom.

     The ex parte letters requested in my June 14, 2021 letter
order will now be due on December 29, 2021. Plaintiff shall submit
a written itemization of damages and a settlement demand to the
defendant on December 29, 2021, with a copy to the Court, and the
defendant shall submit a written offer to the plaintiff and any
alternate itemization of damages on January 5, 2022, again with a
copy to the Court.


     Despite the informal nature of this ruling, it shall
constitute an Order of Court, and the Clerk is directed to docket
it accordingly.

         I look forward to seeing you on January 19, 2022.

                                        Sincerely yours,


                                              /s/

                                        Susan K. Gauvey
                                        United States Magistrate Judge

cc:      Honorable Ellen L. Hollander
         Court and Chambers File
